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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION

SECURITIES AND EXCHANGE             §
COMMISSION,                         §
                                    §
                   Plaintiff,       §
                                    §
v.                                  §    Civil Action No.: 3:09-CV-0298-N
                                    §
STANFORD INTERNATIONAL              §
BANK, LTD., et al.                  §
                                    §
                   Defendants,      §
____________________________________§

                      PLAINTIFF’S BRIEF IN SUPPORT OF
                  MOTION FOR PARTIAL SUMMARY JUDGMENT




Dated: February 19, 2013            Respectfully submitted,

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                                                    Introduction

         Plaintiff Securities and Exchange Commission moves under Rule 56(a) of the Federal

Rules of Civil Procedure for summary judgment against defendants R. Allen Stanford

(“Stanford”), James Davis (“Davis”), Stanford International Bank, Ltd. (“SIB”), and Stanford

Group Company (“SGC”) liable for each claim alleged against them by the Commission in the

Second Amended Complaint and liable for disgorgement, prejudgment interest, and monetary

civil penalties. [See Dkt. 952].1

         In the parallel criminal case, United States of America v. Stanford, Crim. No. H-09-342-

01-S, Dkt. 1 (S.D. Tex.), a jury convicted R. Allen Stanford of 13 counts of criminal violations.

Stanford has been sentenced to serve 1320 months in federal prison and ordered to forfeit $5.9

billion in assets. The same facts that led to his conviction conclusively establish his civil liability

and the liability of the companies he owned. In addition, James Davis pled guilty to the same

basic conduct that supported Stanford’s criminal conviction. The results of these criminal

proceedings conclusively confirm the defendants’ liability. Therefore, the Commission asks the

Court to enter a partial summary judgment against them.

                                                                I.

                         ESTABLISHED FACTS THAT CANNOT BE DISPUTED2

         The overlap between the factual predicates to civil liability in this case and the factual



1     The Commission is not seeking at this time partial summary judgment against Stanford Capital
Management, Laura Pendergest-Holt, Gilberto Lopez, Mark Kurht, or Leroy King.

2         As discussed in this brief, most of the material facts center on the overlap of this case’s allegations with the
facts established in the criminal case. Therefore, many citations are to materials in the public record. Where
necessary, cites to specific materials are to the Appendix in Support of Plaintiff’s Motion for Partial Summary
Judgment (“Pl’s MSJ App.”), filed by the Commission simultaneously with this Brief in Support and fully
incorporated as if set forth verbatim herein. Other references are to court documents in the public record, identified
by case name and number and docket number within that case. The Court may take judicial notice of these publicly
available judicial records.

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findings underlying the jury’s verdict in the criminal case is overwhelming. [See Dkt. 948, Order

Granting Motion of Department of Justice to Intervene and to Stay Discovery (“[t]his case and

the parallel criminal case involve allegations based on substantially the same set of facts.

Allegations in both cases arise from the same alleged Ponzi scheme involving the Stanford

entities and their officers and directors.”)]. For the Court’s convenience, we have set out below a

brief summary of the civil and criminal actions, followed by a more detailed discussion of the

underlying facts that have been established.

       A.       The Commission alleges that Stanford engaged in a long-running fraud
                scheme.

       The Commission filed this action against Stanford and others on February 17, 2009. [See

Dkt. 1.] It amended the Complaint on February 27, 2009 and January 8, 2010, after obtaining the

Court’s leave. The Second Amended Complaint alleges:

               that for at least a decade, Stanford and Davis executed a massive Ponzi scheme
                through entities under their control, including SIB and its affiliated Houston-
                based broker-dealer and investment adviser SGC, and through that scheme
                fraudulently obtained billions of dollars of investor funds and falsified SIB’s
                financial statements in an effort to conceal their fraudulent conduct. The scheme
                centered on marketing self-styled certificates of deposits issued by SIB (“the
                CD”) through, among others, SGC. [Second Am. Complaint at ¶ 1-2.]

               By year-end 2008, SIB had sold more than $7.2 billion in CDs by touting: (i) the
                bank’s safety and security; (ii) consistent, double-digit returns on the bank’s
                investment portfolio; and (iii) high return rates on the CD that greatly exceeded
                those offered by commercial banks in the United States. [Second Am. Complaint
                at ¶ 2.]

               Contrary to SIB’s public statements, Stanford and Davis, by February 2009, had
                misappropriated billions of dollars of investor money and “invested” an
                undetermined amount of investor funds in speculative, unprofitable private
                businesses controlled by Stanford. [Second Am. Complaint at ¶ 3.]

               In an effort to conceal their fraudulent conduct and maintain the flow of investor
                money to SIB’s coffers, Stanford and Davis fabricated the performance of the
                bank’s investment portfolio and lied to investors about the nature and
                performance of the portfolio. [Second Am. Complaint at ¶ 4.]
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               Using a pre-determined return on investment number, typically provided by
                Stanford or Davis, accountants Gil Lopez and Mark Kuhrt reverse-engineered the
                bank’s financial statements to report investment income that the bank did not
                actually earn. [Second Am. Complaint at ¶ 4.]

               Information in SIB’s financial statements and annual reports to investors about
                the bank’s investment portfolio bore no relationship to the actual performance of
                the bank investments. SIB’s financial statements and annual reports to investors
                were prepared, drafted, and approved by Stanford and Davis, and they signed
                these falsified financial statements. [Second Am. Complaint at ¶¶ 4, 38, 53 and
                54.]

               Leroy King, the administrator and chief executive officer of Antigua’s Financial
                Services Regulatory Commission (“FSRC” or “Antiguan Regulatory
                Commission”), facilitated the Ponzi scheme by ensuring that FSRC “looked the
                other way” and conducted sham audits and examinations of SIB’s books and
                records. In exchange for bribes paid to him over a period of several years, King
                made sure that FSRC did not examine SIB’s investment portfolio. King also
                provided Stanford with access to FSRC’s confidential regulatory files, including
                requests by the Commission for assistance in investigating SIB as a possible
                Ponzi scheme. King further obstructed the Commission’s investigation by
                allowing Stanford to dictate the substance, and even content, of FSRC’s responses
                to the Commission that relayed false assurances that there was no cause for
                concern as to SIB and by withholding information requested by the Commission
                that would have revealed Stanford’s fraud. [Second Am. Complaint at ¶¶ 6, 85,
                87, 88, 89, 90 and 91.]

       After the Commission’s civil case was filed, the Court appointed a Receiver over, among

others, Stanford, SGC, SIB and other entities Stanford controlled. In the three years since then,

the Court has been presented with extensive evidence confirming that Stanford orchestrated a

Ponzi scheme.

       B.       In a parallel criminal action, Stanford was charged and convicted based on
                the same scheme, and Davis entered a guilty plea.

       In June 2009, a grand jury in the Southern District of Texas indicted Stanford for

perpetrating a scheme to defraud in connection with the CD program to advance his own

personal interest and those of his companies (the “Criminal Action”). [See United States of

America v. Stanford, Crim. No. H-09-342-01-S, Dkt. 1 (S.D. Tex. June 18, 2009) (“Stanford

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Indictment”), attached at Pl’s MSJ App. at 1-57]. In a superseding indictment based on the same

conduct, Stanford was charged with violations of the statutes prohibiting conspiracy to commit

wire fraud and mail fraud, 18 U.S.C. § 1349, wire fraud, 18 U.S.C. §§ 1342, 1343, mail fraud, 18

U.S.C. §§ 1341, 1342, conspiracy to obstruct an SEC investigation, 18 U.S.C. § 371, obstruction

of an SEC investigation, 18 U.S.C. §§ 1502, 1505, and conspiracy to commit money laundering,

18 U.S.C. § 1956(h). Furthermore, the prosecution gave notice to Stanford that in the event of his

conviction of any of the offenses charged, pursuant to Title 28, United States Code, Sections

981(a)(1)(C), 982(a)(1), and 2461(c), the United States intended to forfeit certain property. [See

United States of America v. Stanford, Crim. No. H-09-342-01-S, Dkt. 422 (S.D. Tex. May 4,

2011) (“Superseding Indictment”) (Pl’s MSJ App. at 58-87).]

       On March 6, 2012, a jury convicted Stanford on 13 of 14 possible counts, finding him

guilty of conspiracy to commit mail and wire fraud, four counts of wire fraud, five counts of mail

fraud, one count of conspiracy to obstruct an SEC investigation, one count of obstruction of an

SEC proceeding, and one count conspiracy to commit money laundering. [See United States of

America v. Stanford, Crim. No. H-09-342, Dkt. 808 (S.D. Tex. March 6, 2012) (“Jury Verdict”)

(Pl’s MSJ App. at 88-92).]

       Following the criminal conviction, a forfeiture trial was conducted. The jury found that

assets in various Stanford-related accounts were the proceeds of Stanford’s scheme to defraud

and therefore found that all funds on deposit in 27 of the 29 foreign accounts were proceeds of

both the conspiracy and the scheme to defraud and were therefore subject to forfeiture. [See

United States of America v. Stanford, Crim. No. H-09-342-01-S, Dkt. 862 (S.D. Tex. June 1,

2012) (“Amended Order of Forfeiture”) (Pl’s MSJ App. at 93-99).]

       On June 14, 2012, the trial court sentenced Stanford to 110 years in federal prison, and


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ordered him to forfeit more than $5.9 billion. [See United States of America v. Stanford, Crim.

No. 4:09CR00342-001, Dkt. 878 (S.D. Tex. June 14, 2012) (“Judgment in a Criminal Case”);

Dkt. 881 (“Order of Forfeiture at Sentencing”) (Pl’s MSJ App. at 100-103).] Stanford has filed a

notice of appeal.

        Davis was also criminally charged in June 2009. On August 27, 2009, Davis entered a

Plea Agreement in which he agreed to plead to the three counts he had been charged with in the

original information. His Plea Agreement contains a factual recitation as the basis for the

charges of conspiracy to commit mail, wire and securities fraud, mail fraud, and conspiracy to

obstruct an SEC investigation. [See United States of America v. James M. Davis, Crim. No. H-

09-335, Dkt. 30 (S.D. Tex. August 27, 2009) (“Plea Agreement” at ¶¶17(a)-17(ll)), (Pl’s MSJ

App. at 104-134).] That factual recitation contains in essence the same facts alleged in the

Commission’s Second Amended Complaint, as well as the facts on which Stanford was later

convicted. On January 2013, Davis was sentenced to serve sixty months in federal prison and to

serve three years under supervised release. [See Case No. 4:09-cr-335, Doc. No. 89 (Pl’s MSJ

App. at 134A].

        C.      As alleged in both the civil and criminal cases, Stanford was the sole
                shareholder of SIB and SGC, which he used to sell the CD.

        Stanford was, until his fraudulent scheme was halted, the chairman of the board and the

sole shareholder of SIB, and the sole shareholder of SGC’s parent company. [Superseding

Indictment at ¶ 6; Stanford’s Answer to First Amended Complaint at ¶ 15 (“Stanford’s

Answer”), Dkt. 249 (Stanford admits these allegations by the Commission).]3

        SIB purported to be a private international bank domiciled in St. John’s, Antigua, West

Indies, with over 50,000 clients in over 100 countries and with assets under management of

3       Stanford filed an Answer to the Commission’s First Amended Complaint, but has not answered the Second
Amended Complaint. Regardless, he cannot avoid his own admissions.
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approximately $8 billion. Unlike a commercial bank, SIB did not make commercial loans.

Instead its primary product was a self-styled certificate of deposit which SIB marketed to

investors by promising substantially higher rates of return than were generally offered at banks in

the United States. [See Superseding Indictment at 2.]

        SIB sold the CD to investors through, among other entities, its affiliate SGC. [Second

Am. Complaint at 13; First Am. Complaint at ¶ 12, Dkt. 48, and Stanford’s Answer at ¶ 12, Dkt.

249 (Stanford admitting that allegation in the First Amended Complaint); see also Superseding

Indictment at ¶18.] Furthermore, SIB’s primary product was the CD which the bank marketed to

investors by promising substantially higher rates of return than were generally offered at banks in

the United States. [Superseding Indictment at ¶ 2; Second Am. Complaint at ¶2.] SIB purported

to have an independent board of directors, an investment committee, a chief investment officer

and teams of global portfolio advisers and analysts. [First Am. Complaint at ¶19, Dkt. 48, and

Stanford’s Answer at ¶ 19, Dkt. 249 (Stanford admits these allegations by the Commission).]

       SGC, a Houston-based entity, is registered with the Commission as a broker-dealer and

investment adviser. [Second Am. Complaint at 13; Superseding Indictment at 3]. SGC is a

wholly owned subsidiary of Stanford Group Holdings, Inc., which in turn is owned by R. Allen

Stanford. [First Am. Complaint at ¶ 13, Dkt. 48, and Stanford’s Answer at ¶ 13, Dkt. 249

(Stanford admits these allegations by the Commission); Superseding Indictment at 6 (Stanford

was the sole shareholder of SGC and SIB).] It had multiple offices located throughout the

United States (including an office in Dallas). SGC, through its financial advisors, marketed and

sold the CD. [Second Am. Complaint at 14; Superseding Indictment at 4]. As an incentive to

sell the CDs, the commissions that SGC’s financial advisors earned from sales of the CDs were

substantially higher than those earned from the sale of other financial products. [Superseding


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Incitement at ¶ 4; Second Am. Complaint at ¶¶ 28 and 29.]

       Although SIB was not a commercial bank and was selling its securities (i.e., the CD) in

the United States through SGC, it never registered as an investment company under the

Investment Company Act of 1940. [See Affidavit of Curtis Francisco, Pl’s MSJ App. at 135].

       D.      As alleged in this case and as confirmed in the criminal trial, Stanford and
               Davis orchestrated a long-running fraud scheme.

       From at least 1990 through February 17, 2009, Stanford and Davis, together with others,

perpetrated a scheme to defraud investors who purchased SIB CDs of billions of dollars by

soliciting funds under false pretenses, failing to invest those funds as promised, misappropriating

funds for personal use, creating and disseminating false and fraudulent documents to investors

falsely showing how their funds had been invested, and funneling bribes to an Antiguan

regulator and an outside auditor to conceal the scheme. [Superseding Indictment at ¶ 13; see also

Complaint at ¶¶ 1, 3, 4 and 39; Plea Agreement at ¶¶17(a)-17(ll).]

       In order to execute their scheme, Stanford and his co-conspirators disseminated and

caused others to disseminate various representations falsely describing SIB CDs to potential

existing investors. According to those representations, which Stanford reviewed and approved,

SIB invested the proceeds from the sales of its CDs in a portfolio consisting of various assets,

and the performance of that investment portfolio generated returns that SIB then paid to the

purchasers of the CDs. Therefore, the return earned by investors who purchased the CDs

depended on SIB’s strategy in investing proceeds from the sale of the CDs. [Superseding

Indictment at ¶ 14; see also Complaint at ¶¶ 4 and 38.] Stanford and his co-conspirators

disseminated documents, which falsely described the make-up and performance of SIB’s

investment portfolio, including SIB’s financial statements and other periodic reports, to current

SIB CD investors as well as to prospective investors. [Superseding Indictment at ¶ 15; see also

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Complaint at ¶¶ 4 and 38; Plea Agreement at ¶¶17(c)-17(n).]

       The representations that Stanford and his co-conspirators made regarding the operation

and nature of SIB CDs, as well as the roles played by the outside auditor and Antiguan regulators

to protect investors, were false. Specifically, Stanford and his co-conspirators executed their

scheme by making and causing others to make to investors the following misrepresentations,

among others:

       1. All of the proceeds from the sales of the CDs would be invested with professional
          money managers in conservative highly liquid assets, such as stocks, bonds, and
          foreign currencies, when, in fact, as Stanford and his co-conspirators knew, billions of
          dollars were funneled to Stanford in the form of undisclosed personal “loans”;

       2. SIB was earning substantial rates of return on its investment portfolio, when, in fact,
          as Stanford and his co-conspirators knew, SIB was steadily losing money because its
          investment portfolio was not invested in profitable assets as represented, and because
          Stanford did not repay the loans he had made to himself from SIB;

       3. Stanford had personally invested hundreds of millions of dollars of cash into SIB to
          provide capital, when, in fact, as Stanford and his co-conspirators knew, no such
          investment ever took place and in fact Stanford had borrowed approximately $2
          billion from SIB; and

       4. The Antiguan Regulatory Commission regulated SIB, and the outside auditor verified
          the accuracy of the disclosures in SIB’s financial statements, when, in fact, as
          Stanford and his co-conspirators knew, Stanford bribed both King and the outside
          auditor to conceal his fraudulent scheme from investors and the SEC.

[Superseding Indictment at ¶ 16; see also Complaint 32-47 and 84-93; Plea Agreement at

¶¶17(d)-17(t).]

       Contrary to their representations to investors, Stanford and his co-conspirators

fraudulently obtained investor funds and diverted those funds in myriad ways, including

financing Stanford’s personal business ventures and lavish lifestyle. By December 2008, SIB

represented to investors that it had approximately $8.5 billion in assets when in fact

approximately $2 billion of that total consisted of undisclosed personal “loans” to Stanford, who


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had merely fraudulently obtained funds from investors and then spent those funds, contrary to

what was told to investors, to finance his personal, failing business ventures and for his own use

and enjoyment, including personal living expenses, several yachts and private jet airplanes, and

numerous residences around the world. [Superseding Indictment at ¶ 17; see also Complaint at

¶¶ 31, 39, 40, 41 and 46; Plea Agreement at ¶¶17(n), 17(cc).]

       E.      As alleged in this case and as confirmed in the criminal trial, Stanford’s
               fraud scheme included multiple misrepresentations regarding investment
               strategy.

       Stanford and his co-conspirators reviewed and caused the issuance of SIB’s periodic

annual, quarterly, and monthly financial reports, which were provided to investors and used by

SGC’s financial advisors in marketing SIB CDs, together with various other SIB documents and

brochures that claimed to describe SIB’s investment portfolio. The periodic reports and other

documents falsely represented that the CDs were safe and secure investments. For example, the

SIB December 2008 Monthly Report emphasized that SIB was “strong, safe and fiscally sound”

and that its investment strategy for the CDs consisted of a “conservative approach” that was

“long term, hands on and globally diversified with strong liquidity and minimal leverage.”

[Superseding Indictment at ¶ 18; see also Complaint at ¶¶ 2, 31, 33, 34, 35, 36, 47 and 54; Plea

Agreement at ¶17(n).]

       Specifically, Stanford and his co-conspirators made false and misleading statements

regarding the management of SIB’s investment portfolio. According to those false statements,

SIB’s entire investment portfolio was closely managed by a global network of independent

money managers who worked outside the bank. In fact, as Stanford and his co-conspirators

knew, only a fraction of SIB’s reported investment portfolio was invested as SIB represented.

[Superseding Indictment at ¶ 19; see also Complaint at ¶¶ 3, 32, 68, 69, 70 and 71; Plea


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Agreement ¶17(cc).]

       Stanford and his co-conspirators made similarly false and misleading representations

concerning SIB’s investment strategy. For example, SIB’s CD Disclosure Statement described

SIB’s investment strategy as seeking to “minimize risk and achieve liquidity” through asset

diversification in “readily marketable” securities. In various periodic reports issued by SIB,

Stanford and his co-conspirators falsely represented the different types of asset classes into

which investor proceeds had purportedly been invested, specifically misidentifying the

percentages held in stocks, bonds, foreign currencies, and other financial assets. [Superseding

Indictment at ¶ 20; see also Complaint at ¶¶ 33, 34 and 35.]

       F.      As alleged in this case and as confirmed in the criminal trial, Stanford also
               falsified SIB’s financial statements.

       To induce investors to purchase the CDs and to conceal their fraud, Stanford and his co-

conspirators falsified the financial statements for SIB that were disseminated to potential and

existing CD investors, misrepresenting, among other material facts, the value and performance of

SIB’s investment portfolio. [Superseding Indictment at ¶ 21; see also Complaint at ¶¶ 4 and 54;

Plea Agreement ¶¶17(f)-17(n).] Beginning at least as early as 1990, when SIB was still known as

Guardian Bank, the value and performance of the bank’s assets were less than it reported to CD

investors. Over time, that gap steadily grew. To conceal this discrepancy, Stanford and his co-

conspirators misrepresented the nature and value of the assets in SIB’s investment portfolio. For

example, in June 2008, Stanford and his co-conspirators caused SIB to report that SIB’s

investment portfolio contained approximately $8 billion in assets consisting of stocks, bonds,

foreign currencies, and other financial assets. In fact, SIB had only invested a fraction of this

amount in such assets, and the balance of the portfolio had been misappropriated by Stanford in

the form of undisclosed personal loans to finance his various personal business ventures.

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[Superseding Indictment at ¶ 22; see also Complaint at ¶¶ 3, 31, 37, 39, 40, 46 and 48; Plea

Agreement ¶¶17(c)-17(n).]

       Stanford and his co-conspirators also made and caused to be made false and misleading

representations concerning SIB’s financial condition by touting year-by-year percentage and

dollar amount increases in the supposed value of its earnings, revenue, and assets. According to

SIB’s fabricated financial disclosures, the purported value of SIB’s assets rose from

approximately $1.2 billion in 2001 to approximately $8.5 billion in December 2008. In fact, as

Stanford and his co-conspirators knew, those values were entirely fictional and designed to

deceive investors into believing that SIB’s investment portfolio was performing as represented.

[Superseding Indictment at ¶ 23; see also Complaint at ¶¶ 31, 49 and 53.]

       G.      As alleged in this case and as confirmed in the criminal trial, Stanford
               misrepresented that he invested his personal money in SIB.

       Stanford also misrepresented to investors that he provided his own money to buttress

SIB. As the financial crisis grew in 2008, investors began to redeem their CDs. Between May

and December 2008, Stanford directed SGC’s financial advisors to inform their clients that

Stanford had increased SIB’s capital to approximately $1 billion by investing hundreds of

millions of dollars into the bank’s capital. In fact, as Stanford and his co-conspirators knew,

Stanford never made any such investments in SIB. [Superseding Indictment at ¶¶ 24, 32, 58 and

65; see also Complaint at ¶ 58.] In fact, Stanford had no funds other than those obtained from

investors to invest.

       Stanford and his co-conspirators repeatedly represented to investors that he had invested

hundreds of millions of dollars in SIB, and they caused the internal records of SIB to be falsified

to reflect the non-existent investments. For example, Stanford caused to be sent to investors

SIB’s monthly report for December 2008, which falsely represented that SIB had received a

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“contribution” of approximately $541 million from Stanford. Similarly, on or about February 12,

2009, Stanford sent an email to SGC’s financial advisors in which Stanford made representations

that SIB “remains a strong institution” and that he had recently made “two capital infusions” into

SIB, which the financial advisors then relayed to investors. [Superseding Indictment at ¶ 25; see

also Complaint at ¶¶ 32, 58, 65 and 73.]

       In late 2008 and early 2009, Stanford and his co-conspirators began formulating a plan to

engage in a fraudulent revaluation of real estate in an attempt to generate artificial bookkeeping

entries to support Stanford’s supposed 2008 capital infusions and to offset the more than $2

billion in loans Stanford owed to SIB by this time. The plan contemplated using a series of

related-party transactions between Stanford, SIB, and other Stanford-entities that would result in

ascribing a value of $3.2 billion to real estate SIB had purchased only a few months earlier for

$67.5 million. [Superseding Indictment at ¶ 26; see also Complaint at ¶¶ 62, 63, 64 and 65]

       H.      As alleged in this case and as confirmed in the criminal trial, Stanford also
               misrepresented the oversight provided by the Antiguan regulatory
               authorities and an outside auditor.

       Stanford and his co-conspirators also misrepresented the nature and extent of regulatory

oversight of SIB. Specifically, they misrepresented that SIB’s operations and financial condition

were being closely overseen by FSRC and that SIB’s financial statements were subject to annual

audits and regulatory inspections by Antiguan regulators. Similarly, Stanford and his co-

conspirators falsely represented that an outside auditor periodically reviewed and approved the

accuracy of SIB’s financial statements. In fact, as Stanford and his co-conspirators knew, they

bribed Leroy King and an outside auditor to ensure that they did not accurately audit SIB’s

financial statements by verifying the existence or value of SIB’s purported assets. [Superseding

Indictment at ¶ 27; see also Complaint at ¶¶ 6, 54, 87, 92 and 93; see also Case No. 3:09-cv-


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00721, Doc. No. 116-11, Direct Testimony of Ralph S. Janvey at pp. 11-20 [attached as Pl’s MSJ

App. at 136-165] and the attachments referenced in that testimony (“Janvey Testimony”),

describing King’s role in the fraud scheme].

       In addition to ensuring that Antiguan regulators whom he supervised did not effectively

scrutinize SIB, King also assisted Stanford in obstructing the Commission’s investigation. The

Commission initiated an investigation of Stanford Financial in 2005 and began making official

inquiries with FSRC, headed by King, regarding the value and content of SIB’s purported

investments. As part of that investigation, the Commission confidentially requested King’s

assistance in determining whether SIB and Stanford had perpetrated a fraud upon investors.

[Superseding Indictment at ¶ 28; see also Complaint at ¶¶ 6, 87, 88, 89, 90 and 91; Janvey

Testimony].

       In September 2006, the Commission wrote to FSRC, confidentially requesting copies of

FSRC’s exam reports on SIB.        King provided the Commission’s confidential requests for

information to Stanford and his co-conspirators. King then made false representations in

response to the Commission’s official inquiries and allowed employees of Stanford-related

entities employees to assist in preparing FSRC’s response to the Commission’s confidential

inquiry. [Superseding Indictment at ¶ 29; see also Complaint at ¶¶ 6, 88, 89, 90 and 91; Janvey

Testimony]

                                               II.
                                           ARGUMENT

       A.     Summary of the Argument

       Stanford has been indicted, tried, convicted, and sentenced for criminal violations based

on the same facts in the Commission’s Second Amended Complaint. Although Stanford’s

scheme involved elaborate “window-dressing,” it was based on a simple premise:         Stanford

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engaged in a long-running fraudulent scheme to defraud investors who purchased SIB CDs of

billions of dollars by: (1) soliciting funds under false pretenses; (2) failing to invest those funds

as promised; (3) misappropriating funds for personal use; (4) creating and disseminating false

and fraudulent documents to investors falsely showing how their funds had been invested; and

(5) funneling bribes to Antiguan regulators and an outside auditor to conceal the scheme.

Because these necessary facts have already been judicially established, there are no genuine

issues of material fact to be tried.               Consequently, summary judgment against Stanford is

appropriate, and because Stanford perpetrated this fraud through and on behalf of SIB and SGC,

summary judgment is appropriate against those entities.4 Summary judgment is also appropriate

against Davis based on his Plea Agreement.

         B.        A criminal conviction arising from the same facts establishes liability as a
                   matter of law in a related civil proceeding.

         Courts recognize that summary judgment is particularly appropriate in cases like this one,

where the defendant has already been found guilty of crimes arising from the same acts.5                                See

generally Hinkle Northwest, Inc. v. SEC, 641 F.2d 1304, 1308-09 (9th Cir. 1981); Municipality of

Anchorage v. Hitachi Cable, Ltd., 547 F. Supp. 633, 641 (D. Ala. 1982); SEC v. Dimensional

Entertainment Corp., 493 F. Supp. 1270, 1274 (S.D.N.Y. 1980). That is because the doctrine of

collateral estoppel provides that a prior judgment “precludes relitigation [in a second suit] of

issues [of fact or law] actually litigated and necessary to the outcome of the first action.”

Parklane Hosiery Co., Inc. v. Shore, 439 U.S. 322, 327 n.5 (1979); see also Allen v. McCurry,

449 U.S. 90, 94 (1980). The doctrine applies even where the asserting party was not a party to

4        The Receiver appointed to manage the two entities concurs with the Commission that the facts set out in
this motion are true and does not contest the entry of partial summary judgment against the entities.

5        Rule 56(a) provides that a Court should enter summary judgment when the movant demonstrates that there is
no genuine issue of material fact, and it is entitled to a judgment as a matter of law. Anderson v. Liberty Lobby Inc., 477
U.S. 242, 247-48 (1986).

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the first action, as long as its application does not offend principles of fairness and serves the

interests of judicial economy. Parklane Hosiery Co., Inc., 439 U.S. at 331; see also SEC v.

Resnick, 604 F. Supp. 2d 773, 778 (collateral estoppel applies even if the second action differs

significantly from the first action, and can be used by a non-party to the prior action against a

defendant in that action).

       The doctrine is especially applicable in a civil context to findings made in a criminal

matter because of the higher burden of proof borne in the criminal proceeding. It is well-settled

that a criminal conviction, whether by jury verdict or guilty plea, constitutes estoppel against a

defendant in a subsequent civil proceeding as to those matters determined by the judgment in the

criminal case. See Maietta v. Artuz, 84 F.3d 100, 103 n.1 (2d Cir. 1996); see also Emich Motors

Corp. v. GMC, 340 U.S. 558, 568 (1951) (“It is well established that a prior criminal conviction

may work an estoppel in favor of the Government in a subsequent civil proceeding.”). As

observed by one court: “The prevalence of estoppel in civil cases following their criminal

counterparts is due in part to the court’s desire to avoid inconsistent verdicts in light of the higher

burden of proof required in the prior criminal case.” SEC v. Blackwell, 477 F. Supp. 2d 891, 899

(S.D. Ohio 2007); see also SEC v. Grossman, 887 F. Supp. 649, 659 (S.D.N.Y.), aff’d, 101 F.3d

109 (2d Cir. 1996); SEC v. Bilzerian, 29 F.3d 689, 693-95 (D.C. Cir. 1994), cert. denied, 514

U.S. 1011 (1995); SEC v. Haligiannis, 470 F. Supp. 2d 373, 382 (S.D.N.Y. 2007).

       Collateral estoppel is proper if: (1) the issue sought to be precluded is identical to one

previously litigated; (2) the issue was actually determined in the prior proceeding; (3)

determination of the issue was critical and necessary to the decision in the prior proceeding; (4)

the prior judgment is final and valid; and (5) the party against whom preclusion is asserted had a

full and fair opportunity to litigate the issue in the previous forum. Resnick, 604 F. Supp. 2d at


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778 (citing Sedlack v. Braswell Servs. Group, Inc., 134 F.3d 219, 224 (4th Cir. 1998)); see also

Emich, 340 U.S. at 568-69.

       With respect to the fifth factor, the court must examine whether the party against whom

preclusion is asserted had the chance to present evidence and mount a defense against the

criminal charges. Blackwell, 477 F. Supp. 2d at 901; see also Resnick, 604 F. Supp. 2d 779-80

(for purposes of collateral estoppel, the key is the fullness and fairness of the opportunity to

litigate). This is found where the non-moving party had the incentive to litigate vigorously in the

prior proceeding, and was able in that proceeding to examine the evidence against him, present

his own evidence, cross-examine witnesses, be represented by competent counsel, and otherwise

enjoy the protections of due process as relates to the issues under dispute. Resnick, 604 F. Supp.

2d at 780. Furthermore, while “the moving party has the burden of demonstrating the identity of

the issues,…the opposing party has the burden of showing lack of a full and fair opportunity to

litigate the issue in the prior action.” Point Developers, Inc. v. FDIC, 961 F. Supp. 449, 460

(E.D.N.Y. 1997). For the purpose of collateral estoppel, a judgment can be final and valid even

if it remains appealable. Id. at 779, n.5; see also In re Brown, 951 F.2d 564, 569 (3d Cir. 1991);

Blackwell, 477 F. Supp. 2d at 901 (the majority of courts have concluded that a pending criminal

appeal does not bar the court from applying principles of claim preclusion to the plaintiff’s case).

       Finally, the criminal indictment underlying the conviction does not need to exactly match

the civil complaint in order to have a preclusive effect. Even if the statutory violations differ, the

issue is whether the factual allegations underlying the criminal convictions are sufficient to

establish the civil allegations. SEC v. Dimensional Entertainment Corp., 493 F. Supp. 1270,

1277 (S.D.N.Y. 1980); see also Blackwell, 477 F. Supp. 2d at 900 (the issue is whether the

indictment and the civil complaint involved the same conduct with respect to the alleged


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violations).

       C.      Stanford, Davis, SIB, and SGC are liable as a matter of law for violating the
               antifraud provisions of the Securities Act and the Exchange Act.

       Stanford’s criminal conviction establishes his liability for securities fraud under the

Exchange Act and the Securities Act. Similarly, SIB and SGC are liable under those provisions

because of Stanford’s conduct. Davis is liable based on the facts established in his Plea

Agreement.

               1.     The civil fraud claims hinge on the same conduct required to support
                      the criminal conviction.

       Section 17(a) of the Securities Act, Section 10(b) of the Exchange Act, and Rule 10b-5

thereunder, prohibit the employment of fraudulent devices in connection with the offer,

purchase, or sale of securities. See U.S. v. Naftalin, 441 U.S. 768, 778 (1979) (The Supreme

Court has recognized that the antifraud provisions of the Securities Act and the Exchange Act

prohibit essentially the same conduct.). The Commission must show that Stanford: (1) by the

use of the mails or an instrumentality of interstate commerce; (2) made false and misleading

statements or omissions of material fact or otherwise employed any device, scheme, or artifice to

defraud or engage in any transaction, practice or course of business which operates as a fraud or

deceit; (3) in connection with the offer, purchase or sale of securities; and (4) acted with the

requisite intent or scienter. Aaron v. SEC, 446 U.S. 680, 697 (1980); SEC v. Texas Gulf Sulphur

Co., 401 F.2d 833, 860 (2d Cir. 1968), cert. denied sub nom Coates v. SEC, 394 U.S. 976 (1969);

SEC v. Kimmes, 799 F. Supp. 852, 858 (N.D. Ill. 1992), aff’d, 997 F.2d 287 (7th Cir. 1993).

       Stanford’s conviction of wire and mail fraud violations required the same factual findings

necessary to establish Stanford’s liability under Section 17(a) of the Securities Act and Section

10(b) of the Exchange Act. Specifically, the criminal jury necessarily found: (1) the existence


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of a scheme to defraud; (2) use of mails or interstate wires in furtherance of the scheme; and (3)

the specific intent to defraud. United States v. Finney, 714 F.2d 420, 423 (5th Cir. 1983);

Andrews v. Dairy Farmers of America, Inc., 2011 U.S. Dist. LEXIS 130109, *17-18 (S.D.

Mississippi Nov. 9, 2011) (citing United States v. Lucas, 516 F.3d 316, 319 (5th Cir. 2008));

United States v. Quadro Corp., 928 F. Supp. 688, 695 (E.D. Tex. 1996); see also McEvoy Travel

Bureau, Inc. v. Heritage Travel, Inc., 904 F.2d 786, 791 (1st Cir.), cert. denied, 498 U.S. 992

(1990) (“[T]he scheme must be intended to deceive another, by means of false or fraudulent

pretenses, representations, promises, or other deceptive conduct.”). A misrepresentation must be

material to constitute fraud under the statute. Andrews, 2011 U.S. Dist. LEXIS 130109, *18; see

also Neder v. U.S., 527 U.S. 1, 25 (1999) (holding that materiality is an element of mail fraud).

All required elements must be established “beyond a reasonable doubt.” See, e.g., United States

v. Massey, 827 F.2d 995, 999 (5th Cir. 1987).

       This legal standard was properly reflected in the jury instructions. Those instructions

made it clear that: “For you to find a defendant guilty of this crime, you must be convinced that

the government has proved each of the following beyond a reasonable doubt:

           1. That the defendant knowingly created a scheme to defraud or to obtain money and

               property by means of materially false or fraudulent pretenses, representations, or

               promises;

           2. That the defendant acted with a specific intent to defraud;

           3. That the defendant used interstate or foreign wire communications or caused

               another person to use interstate or foreign wire communications for the purpose of

               carrying out the scheme; [or in the mail fraud instruction, ‘That the defendant

               mailed something through the United States Postal Service or a private or


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              commercial interstate carrier for the purpose of carrying out the scheme’;] and

           4. That the scheme to defraud employed false material representations.”

[See United States of America v. Stanford, Crim. No. H-09-342-01-S, Dkt. 807, pg. 24-28 (“Jury

Instructions”)(Pl’s MSJ App. at 166-211).]

       The jury’s verdict underlying Stanford’s criminal conviction resolves all of the elements

needed to establish the Commission’s securities fraud claims except, arguably, the “in

connection with a security” element. See Emich, 340 U.S. at 568-69 (in the case of a criminal

conviction based on a jury verdict of guilty, issues which were essential to the verdict must be

regarded as having been determined by the judgment). It cannot be disputed, however, that the

entire criminal trial hinged on Stanford’s fraudulent conduct in connection with marketing and

selling the CD. And this Court has already ruled that the SIB CDs were securities for purposes

of the Commission’s allegations in the Second Amended Complaint. [Dkt. 1483, pg. 10.]

Therefore, that element has also already been conclusively determined.

              2.      Stanford had a full and fair opportunity to refute the criminal
                      charges.

       The only remaining element necessary to apply collateral estoppel is whether Stanford

had a full and fair opportunity to refute these criminal charges. He did. Throughout the criminal

proceedings, Stanford was represented by competent counsel. He and his attorneys mounted a

vigorous defense. His trial lasted approximately six weeks. Thus, all of the elements of

collateral estoppel are present, and it is appropriate to grant summary judgment on the

Commission’s civil complaints.

              3.      It is undisputed that Stanford owned and controlled SIB and SGC,
                      making those entities liable for his fraudulent actions.

       Having established Stanford’s liability for fraud under Section 17(a) of the Securities Act


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and Section 10(b) of the Exchange Act, and Rule 10b-5 thereunder, SIB and SGC, as Stanford’s

principals, are responsible for that same fraud. This is because Stanford, acting as SIB’s and

SGC’s agent, defrauded investors, and therefore SIB and SGC should be held liable as Stanford’s

principals. See, e.g., A.J. White v. SEC, 556 F.2d 619, 624 (1st Cir.), cert. denied, 434 U.S. 969

(1977) (“A firm …, can act only through its agents and is accountable for the actions of its

responsible officers.”); see generally Sharp v. Coopers & Lybrand, 649 F.2d 175, 180-85 (3d

Cir. 1981), cert. denied, 455 U.S. 938 (1982) (where it is a function of the firm to influence the

investing public, the firm will also be accountable for its employee’s antifraud activities); SEC v.

Management Dynamics, Inc., 515 F.2d 801, 813 (2d Cir. 1975) (holding brokerage firm

accountable for its officer’s illegal trading done in the firm’s name during the course of the

officer’s employment); SEC v. Manor Nursing Centers, Inc., 458 F.2d 1082, 1096 n.16 (2d Cir.

1972) (scienter of an individual who controls a business entity may be imputed to that entity);

Blackwell, 477 F. Supp. 2d at 902 (imputing the fraudulent conduct underlying an individual’s

conviction to a trust, where the individual controlled and dominated the trust). Because there is

no serious dispute that Stanford was the sole owner of and ultimately controlled SGC and SIB,

those entities are liable for the fraud he committed.

           4. Summary Judgment Against Davis Is Also Appropriate.

       Davis entered a Plea Agreement in the criminal case. For reasons similar to those stated

above, the Plea Agreement establishes Davis’s liability as to the Commission’s antifraud claims

against him in the Second Amended Complaint. See United States v. Podell, 572 F.2d 31, 35 (2d

Cir.1978) (“It is well-settled that a criminal conviction, whether by jury verdict or guilty plea,

constitutes estoppel in favor of the United States in a subsequent civil proceeding as to those

matters determined by the judgment in the criminal case.”); SEC v. Roor, 2004 U.S. Dist. LEXIS


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17416, 2004 WL 1933578, at *7 (S.D.N.Y. Aug.30, 2004) (granting summary judgment in an

SEC enforcement action based on collateral estoppel following the defendant’s guilty plea);

Glantz v. United States, 837 F.2d 23, 25 (1st Cir. 1988).

       Specifically, Davis admitted in his Plea Agreement: to conspiring with Stanford to solicit

investor funds and misappropriate them for personal use; to falsely telling investors that SIB’s

investments were well-managed, safe and secure, invested in a strategy to minimize risk and

achieve liquidity; to falsely telling investors that SIB’s returns increased year by year through the

investment strategy; to falsely telling investors that SIB had certain returns when he and others

were fabricating the returns; to creating and disseminating false and fraudulent documents to

investors that misrepresented how their funds were invested; and to concealing the lack of

regulatory scrutiny by the Antiguan regulators and outside auditor. The facts alleged in Davis’s

Plea Agreement conclusively prove the claims alleged against him in the Second Amended

Complaint for violating Section 17(a) of the Securities Act, Section 10(b) of the Exchange Act,

and Rule 10b-5 thereunder such that the Commission is entitled to summary judgment against

him as a matter of law.

       D.      Stanford’s Criminal Conviction Establishes His Liability, and that of SGC,
               Under the Adviser’s Act.

       Stanford’s conviction also establishes his liability under Sections 206(1) and 206(2) of

the Advisers Act. Section 206(1) of the Advisers Act [15 U.S.C. § 80b-6] prohibits investment

advisers from employing “any device, scheme, or artifice to defraud any client or prospective

client.” Likewise, Section 206(2) of the Advisers Act prohibits investment advisers from

engaging “in any transaction, practice, or course of business which operates as a fraud or deceit

upon any client or prospective client.”

       As discussed above, Stanford’s mail and wire fraud convictions necessarily included a

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finding that he orchestrated a scheme to defraud CD investors, that he sold those CDs to them

through the investment advisor (SGC) that he owned and controlled, and that he acted with the

specific intent to defraud. [See Dkt. 807 (Jury Instructions)(Pl’s MSJ App. at 166-211); Dkt. 808

(Jury Verdict)(Pl’s MSJ App. at 88-92.]

       It is undisputed that the scheme to defraud in this case was intended to, and did in fact,

defraud clients. It is also undisputed that Stanford and SGC were investment advisers. Stanford

admitted that SGC was a registered investment adviser. [First Amended Complaint at ¶¶ 13 and

14, Dkt. 48, and Stanford’s Answer at ¶¶ 13 and 14, Dkt. 249 (Stanford admits these allegations

by the Commission).] In addition, SGC meets the definition of investment adviser in Section

202(11) of the Adviser Act [15 U.S.C. § 80b-2(11)]: “any person who, for compensation,

engages in the business of advising others, either directly or through publications or writings, as

to the value of securities or as to advisability of investing in, purchasing, or selling securities, or

who, for compensation and as part of a regular business, issues or promulgates analyses or

reports concerning securities….” Additionally, insofar as Stanford conducted fraudulent

activities as an agent of SGC and in the course of such agency, and for the reasons set forth

above, Stanford’s liability under Sections 206(1) and 206(2) extends to SGC. Accordingly, there

is no dispute as to material fact regarding Stanford’s and SGC’s violations of Sections 206(1)

and 206(2) of the Advisers Act.

       E.      SIB and SGC are liable under Section 7(d) of the Investment Company Act.

       The Commission is entitled to summary judgment on its cause of action that SIB and

SGC violated the Investment Company Act of 1940 (“the 1940 Act”) by failing to register before




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offering securities for sale.6 Section 7(d) of the 1940 Act requires a foreign investment company

to obtain an order from the Commission permitting it and its underwriter to publicly offer

securities for sale in this country before doing so. 15 U.S.C. § 80a-7(d); see SEC v. Banner Fund

International, 211 F.3d 602, 610 (D.C. Cir. 2000) (foreign entity may not sell unregistered

interests without first obtaining an SEC order permitting such offers); Investment Funds Institute

of Canada, SEC No-Action Letter, 1996 WL 102167 (March 4, 1996). Foreign investment

companies are also subject to the 1940 Act if, upon completion of the offering, more than 100

U.S. residents are beneficial owners of its securities. Touche, Remnant & Co., SEC No-Action

Letter, 1984 WL 45636 at *1 (July 27, 1984).

         SIB was unquestionably a foreign investment company, as defined in the statute. 15

U.S.C. § 80a-3(a)(1)(A). It offered its securities for sale and was organized in Antigua.

Thousands of United States residents became beneficial owners of SIB’s securities, the CDs.

SIB did not first obtain an SEC order permitting its offering. [See Affidavit of Curtis Francisco,

Pl’s MSJ App. at 135]. Therefore, it violated the 1940 Act.

         SIB might argue that it was a “foreign bank” and therefore exempt from 1940 Act

registration requirements. The rules define a “foreign bank” as a banking institution that is:

              1. Regulated as a bank by the government of the country in which it was organized;

              2. Engaged substantially in commercial banking activity; and

              3. Not operated for the purpose of evading the provisions of the 1940 Act.

17 C.F.R. 270.3a-6(b)(1)(i). SIB fails all three prongs of the definition.

         SIB was not regulated by Antigua. The Criminal Action and other evidence establishes


6
         In addition to facts established in the criminal trial, evidence in the record, including the Appendix filed in
support of the Commission’s motion for summary judgment, demonstrate summary judgment is proper on this
claim.

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that Allen Stanford “captured” SIB’s Antiguan regulator, FSRC, through bribes and other favors

to Leroy King, such that the agency was not truly regulating SIB (see supra Section I, at pages

12-13.)7

         Also, SIB admittedly did not engage in any commercial banking activity. Commercial

banking activity is defined as including the extension of credit and taking deposits. 17 C.F.R.

270.3a-6(b)(2). In a marketing brochure, SIB stated it provided “Depositor Security” because it

“does not expose its customers to the risks associated with commercial loans. Our only form of

lending is done on a cash-secured basis solely to existing customers.” Ex. A, p. 6, Pl’s MSJ App.

at 217. The same brochure also stated that SIB was able to pay higher interest to depositors

because of its “global investments.” “Diversified global investments, not loans, are the primary

source of Bank earnings.” Ex. A, p. 7 (emphasis added), Pl’s MSJ App. at 218. In fact, internal

training materials categorically stated that SIB “is not a commercial bank.” Ex. B, p. 16, Pl’s

MSJ App. at 242.

         Moreover, Karyl Van Tassel, the forensic accountant employed by the Receiver, testified

that SIB was not a true bank. In her December 5, 2011, written testimony, filed in the related

matter 3:09-CV-0721-N (the “Debtor in Foreign Possession Proceeding”), Van Tassel stated:

         SIB was nothing like a typical commercial bank. It had one principal product
         line—certificates of deposit—and one principal source of funds—customer
         deposits from CD purchases. SIB’s two principal activities—selling CDs and
         otherwise directing the proceeds of such sales—were controlled and conducted
         from the United States, with no meaningful management input from Antigua.
         SIB, although incorporated in Antigua, was controlled and managed by Stanford
         and [Jim] Davis, with assistance from [Laura Pendergest-] Holt, from various
         places within the U.S.



7       Stanford was found not guilty on one count of wire fraud based on an allegation that he purchased Super
Bowl tickets for King. Nevertheless, the criminal trial established that Stanford’s illegal conspiracy – of which he
was convicted – was based in part on his payment of various bribes to King. [See Superseding Indictment at
paragraph 27]. In any event, the evidence presented in this and ancillary cases conclusively establishes that Stanford
bribed King to help hide his fraudulent scheme. [See, e.g., Janvey Testimony, Pl’s MSJ at 136-165].
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Ex. C, Dec. 5, 2011 Van Tassel testimony, p. 7, Pl’s MSJ App. at 314.

        Finally, SIB was not a “foreign bank” because it was a Ponzi scheme. The reason it did

not register is obvious: it needed to evade registration to further the scheme. This Court has

already judicially found that “Stanford operated a Ponzi scheme”. Ex. D, July 30, 2012 Order in

Debtor in Possession Proceeding, p. 19, note 23 [Page ID 13199], Pl’s MSJ App. at 374.   

Janvey v. Democratic Senatorial Campaign Committee, Inc., 793 F.Supp.2d 825, 856 (N.D. Tex.

2011) (“[t]he evidence [the Receiver] provides establishes that the [R. Allen Stanford, his

associates, and various entities under Stanford’s control] operated a Ponzi scheme and were

therefore insolvent at least as early as 1999 and perhaps much earlier.”). Because SIB was a

Ponzi scheme, it was therefore created to evade the registration requirement. All three

requirements are necessary for SIB to be considered an exempt “foreign bank”: it meets none.

        SGC also violated the 1940 Act. It meets the definition of an “underwriter” under the

1940 Act, as it was selling securities for an issuer in connection with their distribution.8 15

U.S.C. § 80a-2(40). SGC was also required to comply with the Act, and it also failed to do so.

15 U.S.C. § 80a-7(d).

        Based on the foregoing evidence, there is no genuine issue as to any material fact. SIB

and SGC were required to comply with the 1940 Act requirements. They failed to do so. The

Commission is entitled to summary judgment on this cause of action.

        F.       The Commission is Entitled to the Relief Requested in the Complaint

        Because the Commission has demonstrated that no material fact remains for

determination in regard to the first through sixth claims of the Complaint against Stanford,


8        Stanford admitted that SIB sold the CDs to U.S. investors through SGC, and that SGC’s principal business
consisted of sales of SIB-issued securities, the CDs. [First Amended Complaint at ¶¶ 12 and 13, Dkt. 48, and
Stanford’s Answer at ¶¶ 12 and 13, Dkt. 249 (Stanford admits these allegations by the Commission).]

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Davis, SIB, and SGC, the Commission moves this Court to enter judgment in its favor and to

enter an order imposing upon Stanford, Davis, SIB, and SGC equitable and monetary relief as

further set forth below. A district court has “broad equitable power to fashion appropriate

remedies” upon finding a violation of federal securities laws. SEC v. First Jersey Sec., Inc., 101

F.3d 1450, 1474 (2d Cir.1996).

               1.      Injunction

       The Commission requests that the Court permanently enjoin Stanford, Davis, SIB, and

SGC from violating, or aiding and abetting violations of, Section 10(b) and Rule 10b-5 of the

Exchange Act, and Section 17(a) of the Securities Act. Furthermore, the Commission requests

that the Court permanently enjoin Stanford and SGC from violating, and enjoin Stanford and

Davis from aiding and abetting violations of, Sections 206(1) and 206(2) of the Advisers Act.

Finally, the Commission requests that the Court permanently enjoin SIB and SCG from violating

Section 7(d) of the Investment Company Act. A permanent injunction may be granted at

summary judgment. SEC v. Research Automation Corp., 585 F.2d 31, 36 (2d Cir. 1978)

(affirming and noting propriety of injunctive relief on summary judgment); see also Resnick, 640

F. Supp. 2d at 781-82 (enjoining defendant upon motion for summary judgment). The Securities

Act, the Exchange Act, the Advisers Act, and the Investment Company Act provide for the

issuance of a permanent injunction following a violation of any of their provisions. 15 U.S.C. §

77t(b); 15 U.S.C. §§ 78u(d), and 78u-1; 15 U.S.C. § 80b-9(d); 15 U.S.C. § 80a-41(d).

       To obtain an injunction, the Commission must show that there is a reasonable likelihood

that the defendant, if not enjoined, will again engage in the illegal conduct. Manor Nursing, 458

F.2d at 1100; see also Resnick, 604 F. Supp. 2d at 781. Factors to consider are: (1) the

seriousness of the original violation; (2) the isolated or recurrent nature of the infraction; (3) the


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degree of scienter involved on the part of the defendant; (4) the defendant’s recognition of his or

her wrongful conduct and the sincerity of assurance against future violations; and (5) the

likelihood that the defendant’s occupation will present opportunities for future violations.

Resnick, 604 F. Supp. 2d at 782 (citing SEC v. Marker, 427 F. Supp. 2d 583, 590 (M.D. N.C.

2006)); see also SEC v. Cavanagh, 155 F.3d 129, 135 (2d Cir.1998).

       The undisputed facts set forth above easily establish that the first four factors weigh

heavily in favor of ordering injunctive relief. The Commission acknowledges that Stanford’s

prison sentence (and Davis’s, once it is assessed) cuts against the remaining factor, opportunities

for future violations. But prison inmates can and do commit fraud while incarcerated. See, e.g.,

U.S. v. Mihaly, 67 F.3d 894 (10th Cir. 1995) (committing wire and mail fraud while serving

federal prison term). An injunction would also provide some protection against the possibility

that others in prison might work in concert with them to commit violations. And of course, no

single factor is determinative in analyzing the propriety of an injunction, but the degree of

scienter “bears heavily” on the decision. See SEC v. Pros International, Inc., 994 F.2d 767, 769

(10th Cir. 1993). The factors similarly apply to SIB and SGC, which, although inactive, continue

to exist and could resume activity through Stanford or otherwise.

               2.     Disgorgement

       Disgorgement is an equitable remedy intended to prevent unjust enrichment and to deter

others from violating securities laws by making violations unprofitable. Resnick, 604 F. Supp. 2d

at 782 (citing Marker, 427 F. Supp. 2d at 591); see also SEC v. First City Financial Corp., 890

F.2d 1215, 1230-31 (D.C. Cir. 1989); SEC v. Bilzerian, 814 F. Supp. 116, 120 (D.D.C. 1993). To

justify a particular amount of disgorgement, the Commission must simply establish a reasonable

approximation of the amount of gains causally connected to the fraud. Resnick, 604 F. Supp. 2d


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at 782; cf. In re GMC, 110 F.3d 1003, 1019 n. 16 (4th Cir.), cert. denied, 522 U.S. 814 (1997)

(“where a ‘harm’ amount is difficult to calculate, a court is wholly justified in requiring the party

in contempt to disgorge any profits it may have received that resulted in whole or in part from

the contemptuous conduct”); see also First City Financial Corp., 890 F.2d at 1231. All doubts

concerning the approximation are to be resolved against the defendant. SEC v. Hughes Capital,

917 F. Supp. 1080, 1085 (D.N.J. 1996), aff’d w/o opinion, 1997 U.S. App. LEXIS 24480 (3d Cir.

July 9, 1997); see also First City Financial Corp., 890 F.2d at 1232; SEC v. MacDonald, 699

F.2d 47, 55 (1st Cir. 1983). Once the Commission has shown that the disgorgement amount is a

reasonable approximation of ill-gotten gains, the burden of proof shifts to the defendant. First City

Financial Corp., 890 F.2d at 1232.

          In civil cases, courts have held that the criminal money judgment is a reasonable

approximation of the ill-gotten gains and will establish the defendant’s liability for

disgorgement. SEC v. Gordon, 822 F. Supp. 2d 1144 (N.D. Okla. 2011) (the court relied on the

amount of the criminal money judgment, less any amounts recovered by the government in

forfeiture proceedings, to establish the defendant’s liability for disgorgement); see also SEC v.

AbsoluteFuture.com, 393 F.3d 94, 97 (2d Cir. 2004); SEC v. Calvo, 378 F.3d 1211, 1215 (11th

Cir. 2004). Furthermore, courts have held that a reasonable approximation of ill-gotten gains

may be based on collateral estoppel and the findings in the criminal action. SEC v. Contorinis,

2012 U.S. Dist. LEXIS 19961, at *12-16 (S.D.N.Y. Feb. 3, 2012) (the criminal action convicted

the defendant of engaging in insider trading that resulted in profits of $7.3 million, in the civil

action the court held him liable for disgorgement in the amount of $7.3 million minus certain

costs).

          In the Criminal Action, the United States gave notice to Stanford of its intent to seek


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forfeiture of certain assets if he was convicted. [See United States of America v. Stanford, Crim.

No. H-09-342-01-S, Dkt. 422 (S.D. Tex. May 4, 2011) (“Superseding Indictment”)(Pl’s MSJ

App. at 58-87).] After the jury returned a guilty verdict, the forfeiture phase of the trial began

with respect to 29 specific foreign accounts that had been listed in the Superseding Indictment.

The jury heard two half-days of sworn testimony about the connection between the criminal

offenses and the accounts; furthermore, numerous bank records and other financial documents

were received in evidence.

       On March 8, 2012, a jury returned a verdict for the Government, finding that all funds on

deposit in 27 of the 29 foreign accounts, and certain requested amounts in the two remaining

accounts, were proceeds of both the conspiracy and the scheme to defraud, and thus subject to

forfeiture. [See United States of America v. Stanford, Crim. No. H-09-342-01-S, Dkt. 862 (S.D.

Tex. June 1, 2012) (“Amended Order of Forfeiture”)(Pl’s MSJ App. at 93-99.]

       Subsequently, the court in the Criminal Action ordered Stanford to forfeit $5.9 billion.

Stanford, with vigorous and competent counsel, had a full and fair opportunity to refute the

forfeiture amount.    In light of the large amount of forfeiture that Stanford faced, he was

incentivized to put up a vigorous defense. After an adversarial proceeding, Stanford was ordered

to forfeit $5.9 billion. [See United States of America v. Stanford, Crim. No. H-09-342-01-S, Dkt.

862 (“Amended Order of Forfeiture”)(Pl’s MSJ App. at 93-99); Dkt. 878 (“Judgment in a

Criminal Case”)(Pl’s MSJ App. at 416-422); Dkt. 881 (“Order of Forfeiture at Sentencing”)(Pl’s

MSJ App. at 100-103).] In sum, Stanford had a full and fair opportunity to litigate all issues

necessary to the forfeiture order and is now collaterally estopped from contesting those issues.

       Further, where two or more individuals or entities collaborate or have a close relationship in

engaging in the violations of the securities laws, they have been held jointly and severally liable for


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the disgorgement of illegally obtained proceeds. SEC v. First Pacific Bancorp, 142 F.3d 1186,

1191-92 (9th Cir. 1998), cert. denied, 525 U.S. 1121 (1999); SEC v. First Jersey Sec., Inc., 101 F.3d

1450, 1475 (2d Cir. 1996), cert. denied, 522 U.S. 812 (1997). As described supra, Stanford

controlled and used SIB and SGC to engage in the multiple violations of security laws established

above in this action. Davis admitted in his Plea Agreement to the same violations. Thus, Stanford,

Davis, SIB, and SGC should be held jointly and severally liable for the disgorgement of illegally

obtained proceeds.

         Accordingly, the Commission seeks $5.9 billion as a reasonable approximation of unjust

enrichment attributable to the fraud. Stanford, Davis, SIB, and SGC should be held jointly and

severally liable for $5.9 billion, which represents the proceeds of the scheme to defraud, because

they acted in concert as one economic unit.9

                  3.       Prejudgment Interest

         “An award of pre-judgment interest in a case involving violations of the federal securities

laws rests within the equitable discretion of the district court to be exercised according to

considerations of fairness.” Chris-Craft Indus., Inc. v. Piper Aircraft Corp., 516 F.2d 172, 191 (2d

Cir. 1975), rev’d on other grounds, 430 U.S. 1 (1977).                      In deciding whether an award of

prejudgment interest is warranted, a court should consider “(i) the need to fully compensate the

wronged party for actual damages suffered; (ii) considerations of fairness and relative equities of the

award; (iii) the remedial purpose of the statute involved; and/or (iv) such other general principles as

are deemed relevant by the court.” First Jersey, 101 F.3d at 1476. Where a securities law violator

has enjoyed access to funds over a period of time as a result of his or her wrongdoing, requiring the

wrongdoer to pay prejudgment interest is consistent with the equitable purpose of the remedy of

9        In the event it becomes necessary, the Commission recognizes it would be appropriate to offset any
disgorgement owed by the defendants by any recovery obtained against them by the Receiver and by any assets
obtained by the Department of Justice in forfeiture proceedings if those assets are distributed to harmed investors.
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disgorgement. See Hughes, 917 F. Supp. at 1090. In Hughes Capital, the district court explained its

decision to require prejudgment interest as part of the disgorgement amount:

       It comports with the fundamental notions of fairness to award prejudgment interest.
       The defendants had the benefit of nearly $2 million dollars [sic] for the nine and
       one-half years between the fraud and today’s disgorgement order. In order to
       deprive the defendants of their unjust enrichment, the court orders the defendants to
       disgorge . . . prejudgment interest.

Id. An order for prejudgment interest against Stanford, Davis, SIB, and SGC is proper for the

same reasons.

       The IRS underpayment of federal income tax rate as set forth in 26 U.S.C. § 6621(a)(2) is

appropriate for calculating prejudgment interest in SEC enforcement actions such as this one. That

rate of interest “reflects what it would have cost to borrow the money from the government and

therefore reasonably approximates one of the benefits the defendant derived from its fraud.” First

Jersey, 101 F.3d at 1476.

       Thus, the Commission seeks prejudgment interest from the time of the illegal conduct

through the date of judgment on the disgorged funds, at the IRS underpayment rate, because

Stanford had the opportunity to use and benefit from the fraudulently obtained funds since the

fraud. Prejudgment interest on the disgorgement amount, calculated from the time of the illegal

conduct through December 31, 2012 is $861,189,969.06. [See Affidavit of Rebecca R. Fairchild,

Pl’s MSJ App. at 423-424].

                4.     Civil Penalty

       Section 20(d) of the Securities Act [15 U.S.C. § 77t(d)], Section 21(d) of the Exchange

Act [15 U.S.C. § 78u(d)], Section 41(e) of the Investment Company Act [15 U.S.C. § 80a-41(e)],

and Section 209(e) of the Advisers Act [15 U.S.C. § 80b-9(e)] set three tiers of civil money

penalties in Commission civil actions. Third tier penalties are proper if the violation involved


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“fraud, deceit, manipulation, or deliberate or reckless disregard of a regulatory requirement [and]

directly or indirectly resulted in substantial losses or created a significant risk of substantial loss

to other persons.” SEC v. United Energy Partners, Inc., 88 Fed. Appx. 744, 747 (5th Cir.), cert.

denied, 2004 U.S. LEXIS 8188 (2004); 15 U.S.C. § 78u(d)(3)(B); 15 U.S.C. § 77t(d)(2); 15

U.S.C. § 80a-41(e)(2)(C); 15 U.S.C. § 80b-9(e)(2)(C). As set forth at length above, Stanford,

Davis, SIB, and SGC’s fraud was egregious, deliberate, and resulted in substantial losses

(billions of dollars) to tens of thousands of investors. Accordingly, third-tier penalties are

appropriate.

       At the time of the conduct alleged in the Complaint, the relevant authority provided that

the amount of third-tier penalty should not, for an individual defendant, exceed the greater of: (1)

$130,000 for each violation or (2) the gross amount of the defendant’s pecuniary gain. 15 U.S.C.

§ 78u(d)(3)(B); 15 U.S.C. § 77t(d)(2); 17 C.F.R. § 201.1004, Table III to Subpart E.

Furthermore, the amount of third-tier penalty should not, for any other person, such as an entity,

exceed the greater of: (1) $650,000 for each violation or (2) the gross amount of the defendant’s

pecuniary gain. Id. In view of the egregiousness of the fraud as further described above, the

deliberation and disregard of the law, and the resulting substantial losses, the Commission

respectfully requests that the Court enter a maximum third-tier penalty against Stanford and

Davis. At a minimum, this would result in a civil penalty equal to the gross pecuniary gain

reflected in Stanford’s forfeiture order, i.e., $5.9 billion. See SEC v. CMKM Diamonds, Inc., 635

F. Supp. 2d 1185, 1192 (D. Nev. 2009) (where, considering the difficulty of determining the

number of violations, the court calculates third-tier civil penalties by imposing a flat penalty

equal to each defendant’s gross pecuniary gain). The Commission further respectfully requests

that the Court enter a third-tier penalty against SIB and SGC, which acted, at all relevant times,


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through Stanford and Davis.

                                                   III.

                                          CONCLUSION

       For the reasons set forth above, the Commission respectfully requests that the Court grant

the Commission’s Motion for Summary Judgment and enter the Proposed Judgment submitted

with this Memorandum.

Dated: February 19, 2013                       Respectfully submitted,


                                               s/ David B. Reece
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on February 19, 2013, I electronically filed the foregoing Plaintiff’s
Brief in Support of Motion for Partial Summary Judgment with the Clerk of the court using the
CM/ECF system which will send notification of such filing to all counsel of record.

                                               s/ David B. Reece




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